






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO.03-02-00620-CV







In re George Kenyon Slining








ORIGINAL PROCEEDING FROM TRAVIS COUNTY



	


	Relator George Kenyon Slining filed with this Court a motion for temporary relief
and a petition for writ of mandamus.  We overrule Slining's motion and deny his petition.  See Tex.
R. App. P. 52.8(a).



					                                                                                   

					Marilyn Aboussie, Chief Justice

Before Chief Justice Aboussie, Justices Kidd and B. A. Smith

Filed:   October 4, 2002

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